        Case 1:23-cr-00570-ER       Document 10             Filed 02/16/24      Page 1 of 1




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RACHEL PERILLO


                                                                 February 16, 2024

Hon. Edgardo Ramos
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

                           United States v. Nikolay Levinson
                           Ind. 23 Cr. 570 (ER)          ___

Dear Judge Ramos:
     I am the attorney for Mr. Levinson in the above referenced
matter. I write to apologize to Your Honor, the AUSA, and Mr.
Levinson for my failure to appear in court today. I recently
had knee replacement surgery and have had some trouble returning
to work and keeping up with my calendar. I say that not as an
excuse, since it is insufficient, but simply as an explanation
for my failure to appear. I somehow lost track of Mr.
Levinson’s court date which will not happen again. I will see
Mr. Levinson next week to discuss his case further and to
apologize to him in person. Again, I am sorry and assure the
court that this will not happen again.


                                                                 Respectfully submitted,
                                                                 /s/
                                                                 David Stern
